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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   DANIEL McCONKIE
     Assistant U.S. Attorney
 3   NATHANIEL CLARK
     Certified Law Clerk, Misdemeanor Unit
 4   501 I Street, Suite 10-100
     Sacramento, California 95814
 5   Telephone: (916) 554-2807

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 8                IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,         )   No. 2:07-cr-282 FCD
                                       )
12              Plaintiff,             )   Stipulation and Order to Continue
                                       )   Briefing Schedule and Hearing
13         v.                          )
                                       )
14   MARIA E. STONER,                  )
                                       )
15              Defendant.             )   Date: April 12, 2010
                                       )   Time: 10:00 a.m.
16                                     )   Judge: Hon. Frank C. Damrell, Jr.

17         It is hereby stipulated and agreed between the United States

18   and the defendant, by and through his undersigned counsel, to

19   continue the briefing schedule and motion hearing as follows:

20         Government’s Response due---------April 1, 2010

21         Defendant’s Reply, if any, due----April 15, 2010

22         Motion Hearing--------------------April 26, 2010

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 1        The Government requested the continuance because Nathaniel

 2   Clark is newly assigned to this case and needs additional time to

 3   review the transcripts and draft a response.         Counsel for

 4   defendant has agreed to the continuance.

 5        Nathaniel Clark is a Certified Law Clerk and will be

 6   petitioning the Court for permission to make oral arguments in

 7   this case.   Nathaniel Clark will be under the supervision of

 8   Assistant U.S. Attorney Daniel McConkie, who will review the

 9   Government’s Response.

10   DATED: March 4, 2010                     BENJAMIN B. WAGNER
                                              United States Attorney
11

12                                     By:     /s/ Daniel McConkie
                                              DANIEL McCONKIE
13                                            Assistant U.S. Attorney

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15   DATED: March 4, 2010                      /s/ Robert M. Holley
                                              Robert M. Holley
16                                            Attorney at Law
                                              Counsel for Defendant
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19                                   O R D E R

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     IT IS SO ORDERED.
21
     DATED: March 5, 2010
22
                                        _______________________________________
23                                      FRANK C. DAMRELL, JR.
                                        UNITED STATES DISTRICT JUDGE
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